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            EXHIBIT G
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 UNITED STATES INSTITUTE OF PEACE, et al.,

               Plaintiffs,

                                                            Case No. __________________

         v.


 KENNETH JACKSON, et al.,

                 Defendants.



                               DECLARATION OF COLIN O’BRIEN

    I, Colin O’Brien, declare under penalty of perjury, under 28 U.S.C. § 1746, that the following

is true and correct:

        1.      I am Chief Security Officer at the United States Institute of Peace (“USIP”). I have

been in this position since August 2023. In my position, I oversee and am responsible for both

domestic security operations and international security operations.

        2.      I, as Chief Security Officer at USIP acting at the direction of the lawful Board and

President of USIP, wish to preclude DOGE from accessing or controlling sensitive USIP computer

systems, accounts, and other infrastructure (the “Infrastructure”). DOGE has no lawful authority

to access the Infrastructure. Only one USIP employee presently possesses the technological

capability to access the Infrastructure and to grant others access. On the evening of March 18,

2025, I learned that this USIP employee, acting at the behest of DOGE, was en route from Georgia

to Washington, D.C. in order to access the Infrastructure and grant access to DOGE as soon as the

evening of March 18, 2025. Attempts to contact this individual in order to direct them to cease
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pursuant to the wishes of lawful USIP leadership have been unsuccessful. Further relevant factual

background follows.

       3.       On March 16, 2025, while I was at work, I received a call from a Federal Bureau

of Investigation (FBI) agent, Doug Silk, who requested information about USIP’s security

procedures. Mr. Silk informed me that I am a subject of an investigation by the Department of

Justice into the incident that took place at USIP on Friday, March 14, 2025, when USIP denied

building entry to DOGE staff and FBI agents. Mr. Silk asked if I could meet him for questioning

that afternoon. I asked him for his contact information so I could get back to him. I then called

George Moose, President of USIP, and George Foote, outside counsel to USIP to inform them of

this development. I was worried when I got home I would be met by FBI agents and questioned.

I called my wife and instructed her to lock the doors at our home.

       4.       That afternoon, in consultation with Amb. Moose and Mr. Foote, I made the

recommendation to suspend USIP’s security operations contract with Inter-Con. Given the

escalation in interest in accessing USIP’s building, we were concerned that DOGE or the

Department of Justice would coerce Inter-Con into opening USIP’s doors for them. The contract

was suspended effective at 6:00pm on March 16, and at that time, Inter-Con personnel were

removed from the USIP headquarters building, ID card access was revoked, and all keys were

accounted for, with the exception of one physical key held by Kevin Simpson, the Inter-Con

account manager for USIP. Inter-Con confirmed receipt of this suspension notice through an email.

Derrick Hanna, the Vice President of Inter-Con, emailed back to say Inter-Con “will stand down

services as requested effective 1800 hours, on Sunday, March 16, 2025.” I was copied on all of

these emails.




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       5.      On Monday, March 17, 2025, I was at the USIP headquarters building. Around

2:30pm, three cars pulled up in front of the building. Mr. Hanna and another Inter-Con staff exited

one of the cars, approached the USIP building, and attempted to enter by swiping badges. Because

the badges had been deactivated upon suspension of the Inter-Con contract the day prior, they were

unable to access the building.

       6.      Mr. Simpson, who maintained the remaining physical key, then arrived and used

the key to enter the building. Mr. Hanna and two other Inter-Con administrative staff entered the

building with him.

       7.      I, Mr. Foote and Sophia Lin, counsel to USIP, met them inside the building. Mr.

Foote informed the Inter-Con personnel that they were trespassing. Mr. Foote used my phone to

call DC police at 2:59pm to report the unlawful intrusion.

       8.      Mr. Hanna said that DOGE threatened to cancel every federal contract Inter-Con

held if they did not come to the USIP building and let Kenneth Jackson inside. He also said that

Inter-Con guards were en route to the USIP building to resume their shifts.

       9.      I called Mike Bruhn, USIP’s Chief Operating Officer, and advised him to issue a

formal cancellation of the Inter-Con contract. I was informed by Allison Blotzer, USIP’s Chief

Financial Officer, that Inter-Con acknowledged receipt of this cancellation at 3:36pm.

       10.     Mr. Simpson directed his colleagues to make their way to USIP’s arms room, where

guards’ firearms are stored. I was concerned that these administrative staff were going to remove

firearms from the safe.

       11.     In consultation with Amb. Moose, I initiated a higher-level security of the building

(i.e., a building lockdown) to lock all magnetic door locks and elevators in the building for safety

purposes.



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       12.      Soon after, I witnessed via live security camera footage Mr. Simpson, Mr. Hanna,

and another Inter-Con staff approach the main entrance doors from within the building, possibly

to exit or allow others to enter. At the same time, I saw DOGE personnel attempting to open

various doors to the building. Because of the building shutdown, no one was able to enter or exit

through these doors.

       13.      Eventually, the Inter-Con personnel agreed to leave the building, but Mr. Simpson

maintained the physical key.

       14.      At or around 5:30pm, the DC police arrived at the USIP building. I went down to

meet them with the intention of filing a police report to document the trespass earlier.

       15.      I let the District Commander and Deputy Captain of DC police into the building

and discussed with them what happened earlier with the Inter-Con staff. A patrol officer then

arrived to join us, whom I let in. I then closed the door, which then locked.

       16.      Soon after, the police officers stated that they had another officer that needed to

come in. I told them to let him in. This fourth officer held the door open behind him and refused

to close the door when I asked him to.

       17.      A group of police officers, members of the DOGE team, and Kenneth Jackson

entered the building through the open door.

       18.      Under Amb. Moose’s direction, I initiated a full building shutdown.

       19.      The DOGE staff asked me to escort them through the building, however, I explained

that I was unable to do so because my electronic key card had been suspended as a result of the

building shutdown. I then called Amb. Moose, Mr. Foote, and Ms. Lin to update them on the

situation. Mr. Foote and Ms. Lin were able to join us downstairs before the shutdown had fully

taken effect.



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       20.     I was told by DC police officers to stay put and not move. I was physically blocked

by a DC police officer from moving about the building. Mr. Foote, Ms. Lin, and I, along with a

USIP operations employee, were then escorted out of the building. I asked if I could retrieve my

car keys and my car, and they said no.

       21.     While I was outside, I saw the four Inter-Con employees from earlier, which

included Mr. Simpson and Mr. Hanna, return and enter the building.

       22.     I heard a DOGE employee say that they had requested FBI backup and that the FBI

was en route to the building.

       23.     I saw two diplomatic security service special police officers from the Department

of State arrive and enter the premises.

       24.     All additional USIP personnel who were in the building, including Amb. Moose,

were eventually escorted from the building by DC police and DOGE.

       25.     I witnessed DC police retrieve lock picking equipment from a vehicle and proceed

toward the USIP building door on Constitution Ave. I was told by a reporter who had followed

them that they gained entrance through this door.

       26.     Before I left, I saw approximately eight DC police officers guarding the front door

of the building.

       27.     In my Uber ride home, I received a call from Mr. Simpson asking me to contact

someone who could unlock all of the interior building doors. I told him I was not able to reach

this person and could not help him.

       28.     It is my understanding that later that evening, various USIP staff members received

calls from either DOGE personnel or others working with them, during which they requested USIP

staff lists and other information and help accessing USIP’s computer systems.



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       29.     It is my understanding that late in the evening, Mr. Jackson sent an email to some

members of USIP staff requesting that they fill out a form. I did not receive this email as I am

locked out of my USIP electronic accounts.

       I declare under penalty of perjury under the laws of the District of Columbia that the

foregoing declaration is true and correct.




Dated this 18th of March, 2025, and executed in Washington, D.C.

Signed:_/s/ Colin O’Brien___

Print Name: Colin O’Brien__




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